Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 1 of 27

IN THE

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ELOUISE PEPION COBELL
Highway 89, HC 73 .
“ Box 761
Valier, Montana 59486,

EARL OLD PERSON 4
P.O. Box 486
Browning, Montana 59486,

MILDRED CLEGHORN
Route 1, Box 600
Apache, Oklahoma 73006,

THOMAS MAULSON
P.O. Box 277
Long’s Pond Road
Lac du Flambeau, Wisconsin 54538,

JAMES LOUIS LAROSE
Route 1, Box 15
Winnebago, Nebraska 68071,

all on their own behalf and on
behalf of all persons similarly
situated,
Plaintiffs,

Vv.

BRUCE BABBITT, Secretary of the
Interior
1849 C Street N.W.
Washington, D.C. 20240,

ADA E. DEER, Assistant Secretary of
the Interior - Indian Affairs
1849 C Street N.W.
Washington, D.C. 20240, and

ROBERT E. RUBIN, Secretary of the
Treasury
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220,

Defendants.

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CASE NUMBER 1:96CV01285
JUDGE: Royce C. Lamberth
DECK TYPE: Civil General

DATE STAMP: 06/10/96

Civil Action No.
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 2 of 27

COMPLAINT TO COMPEL PERFORMANCE OF TRUST OBLIGATIONS
I. GENERAL NATURE OF THE ACTION

1. This action is brought to redress gross breaches of
trust by the United States, acting by and through the defendants,
with respect to the money of more than 300,000 individual
Indians.

2. Involved in this action are accounts commonly referred
to as Individual Indian Money ("IIM") accounts. As is more fully
set forth hereinbelow, IIM accounts include money which is the
property of individual Indians, held by the United States as
trustee on their behalf. Such accounts currently reflect a
balance of more than Four Hundred and Fifty Million Dollars
($450,000,000.00), and more than Two Hundred and Fifty Million
Dollars ($250,000,000.00) passes through them each year; the true
totals would be far greater than those amounts, but for the
breaches of trust herein complained of.

3. Defendants, the officers charged with carrying out the
trust obligations of the United States, have grossly mismanaged,
and continue grossly to mismanage, such trusts in at least the
following respects, among others:

(a) They have failed to keep adequate records and to
install an adequate accounting system, including but not limited
to their failure to install an adequate accounts receivable
system;

(ob) They have destroyed records bearing upon their breaches

of trust;
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 3 of 27

(c) They have failed to account to the trust beneficiaries
with respect to their money;

(d) They have lost, dissipated, or converted to the United
States’ own use the money of the trust beneficiaries; and

(e) Defendants Babbitt and Deer have prevented, and
combined and conspired with others to prevent, the Special
Trustee for American Indians, appointed pursuant to the American
Indian Trust Fund Management Reform Act of 1994 ("the 1994 Act"),
P.L. 103-412, 108 Stat. 4239, codified to 25 U.S.C. §§ 162a(d)
and 4001-4061, from carrying out duties and responsibilities
conferred upon him by law to correct their unlawful practices and
procedures with respect to IIM accounts.

4. By this action the more than 300,000 individual Indian
trust beneficiaries seek, inter alia, the aid of this Court to
compel defendants to take action wrongfully withheld and
otherwise comply with the law, to review their acts with respect
to the IIM accounts, to direct them to institute appropriate
trust practices, and to direct them to restore trust funds
wrongfully lost, dissipated, or converted.

5. This action deals only with Individual Indian Money
accounts. The United States also holds money and property in
trust for Indian tribes and has committed breaches of those
trusts as well; however, plaintiffs do not in this action claim
standing to seek redress of those breaches and such breaches are

not covered by this action.
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 4 of 27

6. Plaintiffs have no adequate administrative remedies.
Plaintiffs have requested defendants repeatedly to comply with
their obligations and redress the breaches of trust herein
complained of, without success. Moreover, as is more fully set
forth hereinbelow, plaintiffs have supported the passage of
legislation directed at redressing some of the wrongs herein
complained of, and such legislation has been enacted by Congress;
yet defendants have refused to obey the mandate of Congress and
have undermined efforts of the Special Trustee hereinafter
described to bring their activities into compliance with law.
Defendants have exhausted all avenues of redress other than this
action. Only this Court can provide to plaintiffs the relief to
which they are entitled.

II. THE PARTIES
A. The Plaintiffs

7. Plaintiff Cobell is an enrolled member of the Blackfeet
Indian Tribe and is the beneficiary of an IIM account.

8. Plaintiff Old Person is an enrolled member of the
Blackfeet Indian Tribe and is the beneficiary of an IIM account.

9. Plaintiff Cleghorn is an enrolled member of the Fort
Sill Apache Tribe (Oklahoma) and was in the past the beneficiary
of an IIM account.

10. Plaintiff Maulson is an enrolled member of the Lac du
Flambeau Chippewa Tribe (Wisconsin) and was in the past the

beneficiary of an IIM account.
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 5 of 27

11. Plaintiff LaRose is an enrolled member of the Winnebago
Tribe of Nebraska and is the beneficiary of an IIM account.

12. All plaintiffs bring this action on their own behalf
and on behalf of all persons similarly situated, as is more fully
set forth under "Class Action Allegations" hereinbelow.

B. The Defendants

13. Defendant Babbitt is Secretary of the Interior and
chief officer of the Department of the Interior, and as such is
charged by law with carrying out the duties and responsibilities
of the United States as trustee for the named plaintiffs and all
other owners of IIM accounts.

14. Defendant Deer is Assistant Secretary of the Interior -
Indian Affairs and head of the Bureau of Indian Affairs within
the Department of the Interior (hereinafter sometimes called
"BIA" or "the Bureau"), and as such is the delegate of defendant
Babbitt for the carrying out certain of his responsibilities with
respect to IIM accounts.

15. Defendant Rubin is Secretary of the Treasury, and as
such is custodian of the moneys in IIM accounts, is responsible
for maintaining certain records in connection therewith, and has
certain investment responsibilities with respect thereto.

III. JURISDICTION

16. This Court has jurisdiction over this action under 28
U.S.C. § 1331, in that it is an action arising under the
constitution and laws of the United States, and under 28 U.S.C.

§ 1361, in that it is an action in the nature of an action of

=5-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 6 of 27

Mandamus to compel an officer or employee of the United States to
perform a duty owed to plaintiffs.
IV. THE TRUST OBLIGATIONS OF THE UNITED STATES AND OF

DEFENDANTS WITH RESPECT TO INDIVIDUAL INDIAN ACCOUNTS.

17. The bulk of the funds held by the United States in
trust for IIM account holders is derived ultimately from income
from individual land allotments. Such allotments date from the
era, lasting until 1934, when it was the policy of the United
States to break up Indian tribes and tribal lands. In
implementation of such policy, on many reservations the bulk of
tribal land was divided into tracts normally of 80 or 160 acres
(called "allotments") and the tracts were patented to individual
Indians, with legal title thereto held by the United States as
trustee for the allottee. In many instances, such tracts produce
income from, e.g., the lease of tracts for grazing or farming
purposes, the sale of timber from tracts, and the grant of oil,
gas, or mineral mining rights. The income so derived forms the
core of the IIM accounts here involved.

18. To a limited extent, moneys from one or more of the
following additional sources may be contained in, or have passed
through, IIM accounts:

(a) Funds originally held in trust for a tribe which were
distributed per capita to tribe members;

(b) Per capita distributions of funds appropriated to meet
judgments of the Indian Claims Commission and courts and in

settlement of claims;
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 7 of 27

(c) Income from investment of funds;

(d) Money paid from tribal funds to equalize allotments;

(e) Proceeds of sales of allotments;

(£) Compensation for rights of way;

(g) Rent for allotments of aged or incompetent allottees;

(h) Proceeds of sales of allotments of incompetent Indians;

(i) Money due to incompetent or orphan Indians;

(j) Money accruing from the Department of Veterans Affairs
or other government agencies to minors or incompetent adults;

(k) Apportionment or allotment of pro rata shares of tribal
or trust funds; and

(1) Per capita annual payments to members of certain
specified tribes.

19. As trustee of the funds in such accounts, the United
States owes, and continuously since the inception of the IIM
account program has owed, certain duties and responsibilities to
the account holders as trust beneficiaries, including but not
limited to the duty:

(a) To maintain adequate books and records with respect to
such accounts; including, without limitation, records as to the
leases and other contractual arrangements giving rise to income
from allotments, and as to investments of moneys held in trust;

(bob) To maintain adequate records as to the ownership of
such accounts; including, without limitation, records as to the
devolution of rights in and to such accounts, by assignment,

bequest, devise, intestate succession, or otherwise;

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Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 8 of 27

(c) To maintain adequate systems and controls to guard
against error and dishonesty, by, without limitation, maintaining
an accurate accounts receivable system and separating the billing
and collection functions;

(d) To invest such funds as permitted by law, and to
deposit them in such depositary institutions as are permitted by
law; to exercise prudence in the selection of such investments
and depositary institution as are authorized by law; and, within
the constraints of law and prudence, to maximize the return on
such investments and deposits;

(e) To account regularly and accurately to the
beneficiaries, to give them upon request accurate information as
to the state of their accounts, and to pay to them on demand such
amounts as they may be entitled to; and

(£) To refrain from self-dealing and benefiting from the
management of the trust funds.

20. The proper discharge by defendants of the trust
responsibilities of the United States with respect to IIM
accounts was reconfirmed and restated, in part, by § 101 of the
1994 Act, 25 U.S.C. § 162a(d), as including, without limitation:

(a) Providing adequate systems for accounting for and
reporting trust fund balances;

(b) Providing adequate controls over receipts and
disbursements;

(c) Providing periodic, timely reconciliations to assure

the accuracy of accounts;
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 9 of 27

(d) Determining adequate cash balances;

(e) Preparing and supplying account holders with periodic
statements of their account performance and with balances of
their account which shall be available on a daily basis;

(£) Establishing consistent, written policies and
procedures for trust fund management and accounting; and

(g) Providing adequate staffing, supervision, and training
for trust fund management and accounting.

V. BREACHES OF TRUST BY DEFENDANTS

21. The United States, acting through the defendants, has
consistently and egregiously failed to comply with these and
other responsibilities of a trustee and continues to do so. Such
breaches of trust include, without limitation:

(a) Failure ever to reconcile or audit the accounts, so
that defendants are unable to provide accurate account balances
or to determine how much money that should have been collected
and credited to IIM accounts was not collected or was diverted to
improper ends;

(b) Deliberate destruction of records from which the
amounts that should have been credited to IIM accounts could be
determined;

(c) Failure to establish an accounts receivable system, so
that defendants have no way of confirming that the income due
from the trust assets, and other funds that should have been

credited to IIM accounts, has in fact been collected;
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 10 of 27

(d) Failure to separate billing and collection functions or
to install other systems necessary to guard against diversion of
beneficiaries’ funds; ;

(e) Failure to maintain accurate ownership records, so that
defendants have no way of determining to whom the income that has
been collected belongs;

(f£) Failure to provide regular, accurate reports to
beneficiaries to tell them the correct amounts and sources of
their income;

(g) Failure to exercise prudence and observe the
requirements of law with respect to investment and deposit of IIM
funds, and to maximize the return on investments within the
constraints of law and prudence; and

(h) Engaging in self-dealing and benefiting from the
management of the trust funds.

22. The consequences of these and other acts of
mismanagement in breach of trust include, but are not limited to,
the following:

(a) As of the close of fiscal 1995, there was a total of
more than 387,000 IIM accounts, among which there were at least
15,599 duplicate accounts with the same number;

(b) There were many duplicate accounts with the same name;

(c) Twelve separate databases of accounts were maintained

and there was no common database;

~10-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 11 of 27

(ad) There were more than 54,000 accounts, containing over
$46,000,000, for individuals with no address or no correct
address;

(e) Out of more than 48,000 accounts containing more than
$159,000,000 supposedly held in trust for minors until they reach
the age of 18, over 15,000 accounts, containing more than
$24,000,000, were held for persons who in fact were over 18;

(£) More than $122,000,000 was held in nearly 22,000
accounts which were supposedly temporary repositories pending
determination of ownership of the funds; more than 4000 of these
accounts, containing over $3,000,000, had no activity for 18
months;

(g) There were more than 21,000 accounts with more than
$36,000,000 for persons who had died; at least 2400 of these were
for closed estates, yet more than $600,000 due to heirs under
such estates had still not been distributed; and

(h) There were more than 280 overdraft accounts totaling
over $325,000.

23. Plaintiffs have no reason to believe that the present
situation is significantly different. Moreover, the foregoing
list includes only examples already admitted by defendants. On
information and belief, there are many other consequences of
defendants’ mismanagement in breach of trust which are presently
unknown to plaintiffs and which can only be brought to light and

corrected with the aid of this Court.

-11-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 12 of 27

24. The representative plaintiffs, and all other members of
the class, thus do not know, and have no way of ascertaining, and
unless this Court grants the relief here sought will in the
future have no way of knowing or ascertaining, the true state of
xtheir accounts;\what amounts should have been credited to their
accounts and should be so credited in the future; what amounts
should have been paid to them and should be paid in the future;
or how much of their money has been or will be diverted or
converted to other uses.

VI. DEFENDANTS’ UNDERMINING OF CONGRESSTONALLY MANDATED ACTION
TO CORRECT CERTAIN ELEMENTS OF THEIR BREACH OF TRUST

A. The American Indian Trust Fund Management
Reform Act of 1994

25. Congress has recognized the gross breaches of trust
here complained of, as have the General Accounting Office and the
Office of Management and Budget. The OMB has consistently placed
the financial management of Indian trust funds as a "high risk
liability" to the United States. In 1992 the House Committee on
Government Operations, after several years of investigation and
Congressional hearings, issued a report entitled "Misplaced
Trust: The Bureau of Indian Affairs’ Mismanagement of the Indian
Trust Fund." Ultimately, in 1994 Congress enacted the 1994 Act,
for the benefit of plaintiffs and all other beneficiaries of IIM
accounts (as well as the beneficiaries of tribal trust funds).

26. The 1994 Act created the office of Special Trustee for
American Indians as a sub-cabinet level officer (Executive Level

II or higher pay scale) appointed by the President by and with

- 2b
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 13 of 27

the advice and consent of the Senate, reporting directly to the
Secretary of the Interior. 25 U.S.C. § 4042. Congress’s stated
purposes in creating that office were, inter alia, "to provide
for more effective management of, and accountability for the
proper discharge of, the Secretary’s trust responsibilities

to . . . individual Indians," "to ensure that reform of such
practices in the [Interior] Department is carried out ina
unified manner," and "to ensure the implementation of all reforms
necessary for the proper discharge of the Secretary’s trust
responsibilities to . . . individual Indians." 25 U.S.C. § 4041.
The statutory responsibilities of the Special Trustee include,
inter alia:

(a) To prepare "a comprehensive strategic plan for all
phases of the trust management business cycle that will ensure
proper and efficient discharge of the Secretary’s trust
responsibilities to . . . individual Indians," including
"identification of all reforms to the policies, procedures,
practices and systems .. . of the Bureau" and other relevant
Interior Department elements "necessary to ensure the proper and
efficient discharge of the Secretary’s trust responsibilities

," 25 U.S.C. §§ 4043 (a) (1) and (2) (A);

(b) To "oversee all reform efforts within the Bureau" and
other relevant Interior Department elements "to ensure the
establishment of policies, procedures, systems and practices to
allow the Secretary to discharge his trust responsibilities

," 25 U.S.C. § 4043 (b) (1);

-13-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 14 of 27

(c) To "monitor the reconciliation of . . . Individual
Indian Money trust accounts to ensure that the Bureau provides
the account holders with a fair and accurate accounting of all
trust accounts," 25 U.S.C. § 4043 (b) (2) (A);

(d) To “ensure that the Bureau establishes appropriate
policies and procedures, and develops necessary systems, that
will allow it . . . properly to account for and invest, as well
as maximize," subject to requirements of law, "the return on the
investment of all trust fund monies," and "to prepare accurate
and timely reports to account holders .. . ona periodic basis
regarding all collections, disbursements, investments, and return
on investments related to their accounts," 25 U.S.C.

§ 4043 (b) (2) (B); and

(e) To ensure that "the policies, procedures, practices,
and systems of the Bureau" and other relevant elements "related
to the discharge of the Secretary’s trust responsibilities are
coordinated, consistent, and integrated, and. . . that the
[Interior] Department prepares comprehensive and coordinated
written policies and procedures... ," 25 U.S.C. § 4043(c) (1);
"that the Bureau imposes standardized trust fund accounting
procedures throughout the Bureau... ," 25 U.S.C. § 4043 (c) (2);
"that the trust fund investment, general ledger, and subsidiary
accounting systems of the Bureau are integrated and that they are
adequate to support the trust fund investment needs of the
Bureau," 25 U.S.C. § 4043(c) (3); that records, asset management,

and accounting systems of the Bureau and other relevant elements

-14-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 15 of 27

of the Interior Department interface appropriately, and that "the
Bureau of Land management and the Bureau provide Indian
landholders with accurate and timely reports on a periodic basis
that cover all transactions related to leases of Indian
resources," 25 U.S.C. § 4043 (c) (4).

27. The powers conferred on the Special Trustee by the 1994
Act to enable him to carry out his responsibilities include
development of an annual consolidated trust management program
budget proposal "that would enable the Secretary to efficiently
and effectively discharge his trust responsibilities and to
implement the comprehensive strategic plan." 25 U.S.C. §

4043(c) (5) (A). The Special Trustee has broad powers with respect
to such budget, and funds appropriated for trust management which
are included in the Trust Management Program Budget may not be
reprogrammed without his consent. 25 U.S.C. § 4043(c) (5).

28. Moreover, the 1994 Act confers on the Special Trustee
"access to all records, reports, audits, reviews, documents,
papers, recommendations, files and other material, as well as to
any officer and employee, of the [Interior] Department and any
office or bureau thereof," as he "deems necessary for the
performance of his duties." 25 U.S.C. § 4043(e).

29. The 1994 Act also provides for a nine-member Advisory
Board to the Special Trustee, including five trust fund account
holders (including IIM account holders); two members with
practical experience in trust fund and financial management; one

member with practical experience in fiduciary investment

-15-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 16 of 27

management; and one member from academia with knowledge of
general management of large organizations. 25 U.S.C. § 4046.

30. The 1994 Act requires that the Special Trustee be
appointed by the President, with Senate confirmation, "from among
individuals who possess demonstrated ability in general
management of large governmental or business entities and
particular knowledge of trust fund management, management of
financial institutions, and the investment of large sums of
money." 25 U.S.C. § 4042(b) (1). Such a person was in fact found
and appointed, in the person of Paul Homan, a major figure in
banking and trust and fiduciary management, with extensive
experience in large-scale turnarounds of troubled banking
operations, who has served in such posts as chief executive
officer of Riggs National Bank, executive vice-president of
Continental Illinois Trust Company, Senior Deputy Controller of
the Currency for Bank Supervision, and Senior Adviser to the
Controller of the Currency. He in turn appointed a qualified
Advisory Board, of which plaintiff Cobell has been elected Chair.

B. Defendants’ Undermining of the Special Trustee’s

Implementation of the American Indian Trust Fund
Management Reform Act of 1994

31. Defendants Babbitt and Deer vigorously opposed the
adoption of the 1994 Act and particularly opposed Title III of
that Act, which created the office of Special Trustee and
established his authority and responsibilities. Since its
adoption and since the Special Trustee took office, such

defendants, individually and in combination and conspiracy with

-16-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 17 of 27

employees of the Department of the Interior, have willfully and
purposefully obstructed and harassed efforts of the Special
Trustee to carry out his mandate under the 1994 Act. Plaintiffs
are not presently aware of all the forms, subtle as well as
overt, which such obstruction and harassment has taken, but are
aware of at least the following forms:

(a) At the close of Fiscal Year 1995, they had $24,000,000
in uncommitted appropriated funds which could have been
reprogrammed with the approval of congressional committees and
applied to the work of the Special Trustee; rather than apply
such funds, they returned them to the Treasury;

(b) They refused to request adequate funds for Fiscal Year
1996 for the work of the Special Trustee mandated by the 1994
Act;

(c) They prevented the Special Trustee from preparing the
strategic plan mandated by the 1994 Act;

(d) They refused to permit the Special Trustee to conduct
the technology and use survey necessary to carry out his duties
mandated by the 1994 Act;

(e) They prevented the Advisory Board from meeting to
conduct its functions mandated by the 1994 Act; and

(£) They refused to permit the Special Trustee to employ
adequate staff and expert consultants necessary to carry out his

duties mandated by the 1994 Act.

-17-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 18 of 27

VII. CLASS ACTION ALLEGATIONS

32. This action is brought as a class action (on behalf of
a class consisting of all present and former beneficiaries of IIM
accounts) under Rule 23(b) (1) (A) of the Federal Rules of Civil
Procedure, in that the class is so numerous that joinder of all
members is impracticable; there are questions of law and fact
common to the class; the claims of the representative plaintiffs
are typical of the claims of the class; the representative
plaintiffs will fairly and adequately protect the interests of
the class; and the prosecution of separate actions by individual
members of the class would create a risk of inconsistent or
varying adjudications with respect to individual members of the
class which would establish incompatible standards of conduct for
the defendants; all as is more fully set forth hereinbelow.

33. Numerosity. The class is composed of substantially
more than 300,000 individual Indians.

34. Common questions. Questions of law and fact common to
the class include, but are not limited to, the legal standards
governing the trust obligations of the United States with respect
to the funds in IIM accounts; what accounting, recordkeeping,
reporting, and other practices are, have been, and will for the
future be, necessary to achieve compliance with such standards;
the extent to which, if at all, the defendants have complied with
such standards and have implemented or failed to implement such
practices; the measures necessary to be taken in order to correct

past breaches of trust and bring the activities of defendants

-18-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 19 of 27

into compliance with the law for the future; and the nature,
extent, and lawfulness of the defendants’ interference with the
exercise of the statutory responsibilities of the Special
Trustee. The commonality of these questions to all members of
the class is reinforced by the fact that IIM moneys are pooled
for investment purposes.

35. Typicality. The claims of the representative
plaintiffs and all other members of the class arise from the same
practices and course of conduct of the defendants and are based
on the same legal theory.

36. Fair and adequate representation. (a) All named
plaintiffs are or have been beneficiaries of the trust
obligations herein involved, are or have been owners of IIM
accounts, and like all owners of IIM accounts are unable to know
whether their account balances are what they should have been in
the absence of the breaches of trust herein complained of.

(bob) Plaintiff Elouise Cobell, the lead representative
plaintiff, is a recognized leader in Indian affairs with
substantial experience both in financial management and in Indian
matters generally, and is project director of the Individual
Indian Moneys Trust Correction, Recovery, and Capacity-Building
Project of Blackfeet Reservation Development Fund, Inc., a
project that is directly supportive of the present effort and is
further devoted to development and improvement of Indian capacity
to manage funds and achieve self-sufficiency. She is a graduate

of Great Falls Business College and attended Montana State

-19-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 20 of 27

University. Her professional background is in accounting. She
was one of the lead organizers of Blackfeet National Bank, the
only national bank located on a reservation that is owned by an
Indian tribe. She is a director and secretary of the bank and is
active in its management, and with her husband she manages a
ranch producing cattle, wheat, and barley. She served for 13
years as Treasurer of the Blackfeet Indian Tribe, and has served
as Controller of the tribe. She has held various positions with
the Native American Finance Officer Association. She has served
as Chair of the Intertribal Monitoring Association on Indian
Trust Funds. She is a member of the board of the Montana
Community Foundation; is a member of the executive board of Women
and Foundation/Corporate Philanthropy; and is Chair of the
National Rural Development and Finance Corporation. She is Chair
of the Special Trustee Advisory Board, appointed under the 1994
Act, 25 U.S.C. § 4046.

(c) Plaintiff EFarl Old Person, an enrolled member of the
Blackfeet Tribe, was born April 15, 1929 to Juniper and Molly Old
Person, a prominent family of the Blackfeet Indian Reservation.
He was raised on the reservation in the community of Starr
School, where he attended grade school, and graduated from
Browning High School, Browning, Montana. He was elected to the
Blackfeet Tribal Business Council in 1954 as one of the youngest
Blackfeet to serve in this capacity. He has been the Chairman of
the Blackfeet Indian Nation for 40 years and continues in this

capacity as of today, giving a total of 42 years of service to

-20-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 21 of 27

the Indian people. He is a lifetime Chief of the Blackfeet
Indian Nation and was inducted into the Kainai Chieftainship in
Canada. He is a recognized leader in Indian affairs locally and
nationally. He has served as President of the Affiliated Tribes
of the Northwest and President of the National Congress of
American Indians.

(da) Plaintiff Mildred Cleghorn is an enrolled member of the
Fort Sill Apache Tribe of Oklahoma, of which she served as tribal
chairperson for twenty years, from 1976 through 1995. She is a
recognized leader in Indian affairs. In 1886 her father was
taken as a prisoner of war with Geronimo by the United States
cavalry, and she was born a prisoner of war in 1910 in Fort Sill,
Oklahoma. She is a former member of the National Tribal
Chairmen’s Association, the United Tribes of Western Oklahoma,
and the United Indian Nations of Oklahoma. She was awarded a
B.S. degree in 1941 by Oklahoma State University and for many
years taught home economics at the Fort Sill Indian School and at
the Riverside Indian School in Anadarko, Oklahoma. During 1972-
74 she served as the national director of education for the North
American Indian Women’s Association. She is a member of the
National Association of Retired Teachers, the National
Association of Retired Federal Employees, and a past member of
the American Association of University Women. In 1986 Ms.
Cleghorn was the Guest of Honor in Bowie, Arizona at the
Centennial Commemoration of Cessation of Hostilities between the

Chiricahua Apache and the United States government.

=k
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 22 of 27

(e) Plaintiff Thomas Maulson is an enrolled member of the
Lac du Flambeau Chippewa Tribe (Wisconsin), of which he has
served as tribal chairman since October 1992. He is a recognized
leader in Indian affairs. He also currently is the president of
the Great Lakes Inter-Tribal Council, an association of the
Indian tribal governments in Wisconsin. He has been the national
spokesman for the Great Lakes Indian Fish and Wildlife
Commission, and was elected by nine Indian tribes to serve as
chairman of the Voight Task Force, organized to protect Indian
hunting, fishing and gathering rights in a three-state area.
From 1960 to 1963 he served in the United States armed forces.
After receiving an honorable discharge, he returned to the Lac du
Flambeau Reservation and worked as a tribal police officer and
later as a tribal fish and game warden. Since then he has been
self-employed, operating several successful businesses. From
1983 to 1989 he served two terms as his Tribe’s first tribal
judge, having attended the National Judicial College at the
University of Nevada, Reno. In addition to his extensive tribal
government experience, he has served in several state government
positions, including his 1992 election as Vilas County
supervisor, State Tourism Committee, and Vilas County Mining and
Solid Waste Committee.

(f) Plaintiff James Louis LaRose is an enrolled member of
the Winnebago Tribe of Nebraska, of which he has served as tribal
councilman and tribal chairman during various periods beginning

in 1971. He is a recognized leader in Indian affairs. He is a

-22-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 23 of 27

past board member and chairman of the Nebraska Indian Inter-
Tribal Development Corporation, a statewide consortium of
Nebraska Indian tribes dedicated to facilitating individual and
tribal economic self-sufficiency. He is also the former chairman
of the Nebraska Indian Commission, and since 1971 has served as a
board member of Americans for Indian Opportunity. In the 1970s
he led the organizational effort which culminated in the
establishment of Nebraska Indian Community College, of which he
served as chief administrator in the formative years. He is a
past vice-chairman of the American Indian Higher Education
Consortium, the national association of the twenty-eight tribal
colleges in the United States. Since 1992, he has served as the
intergovernmental liaison specialist of the Winnebago Tribe of
Nebraska, and concurrently is the director of the Winnebago Bison
Project, a tribal program to foster and restore a sustainable
buffalo herd on the Winnebago Reservation. He holds A.A. and
B.S. degrees in education.

(g) Counsel for plaintiffs are experienced in the
substantive and procedural law involved in the case. They
include Dennis M. Gingold, an experienced banking lawyer;
Thaddeus Holt, an experienced big-case and class-action
litigator; Henry Paul Monaghan, Professor of Law at a leading
national law school, whose specialties include class action
litigation, constitutional law, federal courts, jurisdiction, and
procedure; Daniel S. Press, who has more than 25 years’

experience in Indian law and served as counsel to the Intertribal

-23-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 24 of 27

Monitoring Association on Indian Trust Funds for six years, in
which capacity he participated in the drafting of the 1994 Act;
and the Native American Rights Fund, an organization experienced
in Indian law and litigation and Indian affairs generally,
including the law and management of Indian trust funds, through
John Echohawk, Executive Director, member of the Pawnee Tribe,
and recognized leader in the field of Indian law; Richard
Dauphinais, member of the Turtle Mountain Band of Chippewa
Indians with fifteen years of experience in Indian law
litigation; Robert M. Peregoy, a Flathead Indian who currently
serves as Chief Justice of the Court of Appeals of the
Confederated Salish and Kootenai Tribes; James Kawahara, a member
of the Winnebago Tribe of Nebraska; and Keith Harper, a member of
the Cherokee Tribe of Oklahoma, a Skadden Fellow, and, formerly,
a law clerk for the Honorable Lawrence W. Pierce of the United
States Court of Appeals for the Second Circuit.

(h) In addition, the services of the accounting firm of
Price Waterhouse LLP have been retained for this litigation. One
of the "Big Six" accounting firms, with more than 100 offices and
14,000 professionals in the United States (including more than 50
government controls specialists and more than 400 litigation
specialists), Price Waterhouse has extensive experience in
evidence analysis and expert testimony in banking and fiduciary
matters, with in-house expertise in such fields as banking and
fiduciary activities; data gathering and evaluation; internal

controls, accounting practices, systems, and standards in

-24-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 25 of 27

government and private business; information systems
(particularly government), financial systems, and distributed
systems; business process reengineering; systems requirement
definition; and modeling and statistical analysis. Price
Waterhouse commands abundant personnel and other resources to
manage the discovery product in this case and present expert
testimony for the assistance of the Court.

37. Risk of inconsistent or varying adjudication.
Substantially all IIM accounts are held for the beneficiaries by
the defendants on essentially the same basis and subject to the
same obligations and responsibilities of the United States and
the defendants. Moreover, the funds in such accounts are held by
defendants, and invested, in a common pool. Defendants’
inadequate recordkeeping and other incompetent systems management
affects all IIM account holders alike. The duties and
obligations of the defendants need to be ascertained, and
adequate systems and controls need to be installed, with respect
to all beneficiaries alike, and inconsistent determinations by
different courts at the suit of different plaintiffs with respect
to such systems and controls would establish incompatible
standards of conduct for the defendants.

COUNT ONE

38. Plaintiffs reallege the allegations of paragraphs 1
through 37 hereof.

39. Defendants owe to plaintiffs and to all members of the

class the duty to ensure that the obligations of the United

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Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 26 of 27

States as trustee for their benefit are complied with. Further,
under the 1994 Act, defendants owe to plaintiffs and to all
members of the class the duty not to interfere with the work of
the Special Trustee, but to give his work all the cooperation and
assistance in their power.

40. Plaintiffs are entitled to an order in the nature of a
writ of mandamus to compel defendants to perform such duties.

COUNT TWO

41. Plaintiffs reallege the allegations of paragraphs 1
through 37 hereof.

42. The acts of defendants herein alleged constitute final
agency action and the unlawful withholding of action. Plaintiffs
and each of them have suffered legal wrong and are aggrieved and
adversely affected thereby. Plaintiffs are entitled to review
thereof under 5 U.S.C. § 702.

WHEREFORE, THE PREMISES CONSIDERED, PLAINTIFFS PRAY:

1. For an order certifying the named plaintiffs under Rule
23(b) (1) (A) of the Federal Rules of Civil Procedure as
representatives of a class consisting of all present and former
beneficiaries of IIM accounts.

2. For a decree construing the trust obligations of
defendants to the members of the class, declaring that defendants
have breached, and are in continuing breach of, their trust
obligations to such class members, and directing the institution
of accounting and other practices in conformity with such

obligations.

-26-
Case 1:96-cv-01285-TFH Document1 Filed 06/10/96 Page 27 of 27

3. For a decree restraining and enjoining defendants and

all those acting in concert or conspiracy with them from further

hindrance or interference with the Special Trustee in the

carrying out of his statutory duties, and directing them to

cooperate with the Special Trustee and facilitate his performance

of his statutory duty.

4. For a decree ordering an accounting and directing the

defendants to make whole the IIM accounts of the class members.

5. For award of plaintiffs’

without limitation, attorneys’

Justice Act and under general principles of law and equity, and

costs of suit,

including,

fees under the Equal Access to

the fees and costs of expert assistance.

6. And for such other,

further,

or different relief as

plaintiffs may be entitled to in the premises.

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